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                               UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MASSACHUSETTS



NATIONAL ASSOCIATION OF
GOVERNMENT EMPLOYEES,

                Plaintiff,
       v.
                                                     Civil Action No: 1:23-cv-11001-RGS
JANET YELLEN, Secretary of the Treasury,
and JOSEPH R. BIDEN, JR., President of the
United States,

                Defendants.


        DEFENDANTS’ MOTION TO DISMISS FOR LACK OF JURISDICTION

       Defendants Joseph R. Biden, Jr. and Janet Yellen, by and through counsel, hereby move to

dismiss Plaintiff’s Amended Complaint for lack of subject matter jurisdiction pursuant to Rule 12(b)(1)

of the Federal Rules of Civil Procedure. For the reasons more fully set forth in the accompanying

Memorandum of Law, this Court lacks jurisdiction to review Plaintiff’s claims because Plaintiff’s

claims are moot and Plaintiff lacks standing. For these reasons, this case should be dismissed.

     Dated: July 24, 2023                                Respectfully submitted,

                                                         BRIAN M. BOYNTON
                                                         Principal Deputy Assistant Attorney General

                                                         ALEXANDER K. HAAS
                                                         Branch Director

                                                         BRAD P. ROSENBERG
                                                         Special Counsel

                                                         DIANE KELLEHER
                                                         Assistant Branch Director

                                                         /s/Alexander N. Ely
                                                         ALEXANDER N. ELY
                                                         ZACHARY A. AVALLONE
                                                         Trial Attorneys
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                                                        Counsel for Defendants


                                REQUEST FOR ORAL ARGUMENT

       Per Local Rule 7.1(d), to the extent that oral argument may assist the court in the resolution

of the issues contained in this motion, Defendants request oral argument at a date and time at which

the parties may be heard.

                                                                      /s/Alexander N. Ely
                                                                      Alexander N. Ely

                                                                      Counsel for Defendants
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                             UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MASSACHUSETTS



NATIONAL ASSOCIATION OF
GOVERNMENT EMPLOYEES,

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                                             Civil Action No: 1:23-cv-11001-RGS
JANET YELLEN, Secretary of the Treasury,
and JOSEPH R. BIDEN, JR., President of the
United States,

              Defendants.


       DEFENDANTS’ MEMORANDUM OF LAW IN IN SUPPORT OF THEIR
            MOTION TO DISMISS FOR LACK OF JURISDICTION
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                                            INTRODUCTION

          Plaintiff National Association of Government Employees (“NAGE” or “Plaintiff”) brought

this action seeking declaratory and injunctive relief regarding the Debt Limit Statute on May 8, 2023,

based on its fear that Congress would not raise the debt limit. That fear never materialized. Instead,

on June 3, 2023, President Biden signed the Fiscal Responsibility Act of 2023 1 into law, suspending

the United States’ debt limit until January of 2025. While NAGE has withdrawn its request for

emergency injunctive relief, it has now amended its complaint and seeks a declaratory judgment from

this Court that the Debt Limit Statute violates Separation of Powers principles and the Presentment

Clause because it impermissibly delegates legislative power to the President.

          This Court should dismiss this lawsuit for lack of jurisdiction. First, because Plaintiff’s

allegations of injury that pre-date the debt limit agreement are now moot, the Amended Complaint’s

continued effort to rely on the predicament in which NAGE’s members allegedly found themselves

in May of 2023 should be rejected on mootness grounds. Second, to the extent Plaintiff’s Amended

Complaint alleges prospective harms from a potential failure of Congress to raise the debt limit in

2025, Plaintiff lacks standing to do so because such claims of injury are wholly speculative, as they

depend on a future chain of events that may never occur—as prior courts have found in challenges

to the Debt Limit Statute. The agreement reached by the political branches in May and June only

reinforces the speculative nature of Plaintiff’s alleged injuries from a potential default in 2025.

          Plaintiff’s effort to manufacture a justiciable Article III case or controversy fails, and this Court

should dismiss this lawsuit for lack of subject matter jurisdiction pursuant to Rule 12(b)(1) of the

Federal Rules of Civil Procedure.




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    Pub. L. 118-5.


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                                          BACKGROUND

        The original complaint in this case, see ECF No. 1, was filed on May 8, 2023, prior to the

agreement reached to suspend the federal debt limit in 31 U.S.C. § 3101(b) (“the Debt Limit Statute”)

and therefore prior to any default by the United States on its obligations. Eleven days after filing its

initial pleading, Plaintiff moved for an Emergency Preliminary Injunction on May 19, 2023. At a

scheduling conference held on May 23, 2023, Defendants were ordered to respond to the Preliminary

Injunction Motion by May 30, 2023.

        On May 27, 2023, both the President and House Speaker Kevin McCarthy separately

announced that they had reached an agreement to resolve the debt limit impasse. The Court then

granted Defendants’ motion to stay briefing and to vacate the previously scheduled hearing on the

Preliminary Injunction Motion “[i]n deference to the efforts of the executive and legislative branches

to resolve the current impasse over the debt ceiling statute.” ECF No. 31 (May 29, 2023, Minute

Order vacating hearing); see also ECF No. 32 (May 29, 2023, Minute Order staying briefing). Both the

House and Senate subsequently passed legislation to suspend the debt limit, and the President signed

the legislation into law on June 3, 2023. On June 20, 2023, NAGE withdrew its Motion for a

Preliminary Injunction and filed an Amended Complaint, see ECF No. 40 (“Am. Compl.”), seeking

declaratory relief against the Debt Limit Statute. Plaintiff’s legal theory, unchanged from the original

complaint, is that the Debt Limit Statute violates Separation of Powers principles and the Presentment

Clause. 2

        The United States’ Attorney’s Office was served with a copy of the Original Complaint on

May 25, and Defendants hereby move to dismiss the Amended Complaint for lack of jurisdiction. See



2
 Plaintiff does not rely on the Public Debt Clause of the Fourteenth Amendment as a basis for its
challenge to the Debt Limit Statute.




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Fed. R. Civ. P. 12(a)(2); 15(a)(3); 12(b)(1).

                                      STANDARD OF REVIEW

        “Subject matter jurisdiction refers to a court’s power, whether constitutional or statutory, to

adjudicate a case.” United States v. George, 676 F.3d 249, 259 (1st Cir. 2012). “The party invoking the

jurisdiction of a federal court carries the burden of proving its existence.” Murphy v. United States, 45

F.3d 520, 522 (1st Cir. 1995). Questions of subject matter jurisdiction must be considered before

merits questions. See Ashcroft v. Iqbal, 556 U.S. 662, 671 (2009) (“Subject-matter jurisdiction cannot be

forfeited or waived and should be considered when fairly in doubt.”); Ex parte McCardle, 7 Wall. 506,

514 (1868) (“Without jurisdiction the court cannot proceed at all in any cause. Jurisdiction is power

to declare the law, and when it ceases to exist, the only function remaining to the court is that of

announcing the fact and dismissing the cause.”). As the First Circuit has observed, Rule 12(b)(1) “is

a large umbrella, overspreading a variety of different types of challenges to subject-matter jurisdiction”

including “those grounded in considerations of ripeness, mootness, sovereign immunity, and the

existence of federal question jurisdiction.” Valentin v. Bella Vista Hospital, 254 F.3d 358, 362–363 (1st

Cir. 2001).

                                                ARGUMENT

I.      THIS COURT LACKS JURISDICTION TO ADJUDICATE PLAINTIFF’S
        CLAIMS.

        To establish Article III standing, a plaintiff must show “a personal stake in the outcome of the

controversy [so] as to warrant his invocation of federal-court jurisdiction.” Warth v. Seldin, 422 U.S.

490, 498 (1975) (quotations omitted); see also Hollingsworth v. Perry, 570 U.S. 693, 705 (2013) (“To have

standing, a litigant must seek relief for an injury that affects him in a personal and individual way,”

and “must possess a direct stake in the outcome of the case.” (quotations omitted)). The plaintiff

must demonstrate that it has suffered an “injury in fact” that is both “concrete and particularized” and

“actual or imminent, not conjectural or hypothetical”; that injury must also be fairly traceable to the


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challenged conduct and likely to be redressed by a favorable judicial decision. Lujan v. Defenders of

Wildlife, 504 U.S. 555, 560–61 (1992).

        Analysis of these requirements, which reflect fundamental separation-of-powers concerns,

must be “especially rigorous” when federal courts are asked to conduct constitutional review of the

actions of co-equal branches of government. Raines v. Byrd, 521 U.S. 811, 819–820 (1997); see also Ariz.

Christian School Tuition Org. v. Winn, 563 U.S. 125, 146 (2011) (“Making the Article III standing inquiry

all the more necessary are the significant implications of constitutional litigation, which can result in

rules of wide applicability that are far beyond Congress’ power to change.”); Hollingsworth, 570 U.S. at

704-705 (“In light of this overriding and time-honored concern about keeping the Judiciary’s power

within its proper constitutional sphere, we must put aside the natural urge to proceed directly to the

merits of [an] important dispute and to settle it for the sake of convenience and efficiency.” (quotation

marks omitted)).

        A.      Plaintiff’s Claims Are Moot Insofar as They Are Predicated On Injuries Its
                Members Allegedly Suffered at the Commencement of the Action, Before The
                Debt Limit Resolution.

        A federal court may not “decide the merits of a legal question not posed in an Article III case

or controversy.” U.S. Bancorp Mortg. Co. v. Bonner Mall P’Ship, 513 U.S. 18, 21 (1994). There is “no

case or controversy, and a suit becomes moot, ‘when the issues presented are no longer ‘live’ or the

parties lack a legally cognizable interest in the outcome.’” Chafin v. Chafin, 568 U.S. 165, 172 (2013)

(quoting Already, LLC v. Nike, Inc., 568 U.S. 85, 91 (2013)). “Even where litigation poses a live

controversy when filed, the [mootness] doctrine requires a federal court to refrain from deciding it if

events have so transpired that the decision will neither presently affect the parties’ rights not have a

more-than-speculative chance of affecting them in the future.” Am. Bar Ass’n v. FTC, 636 F.3d 641,

645 (D.C. Cir. 2011) (quoting Clarke v. United States, 915 F.2d 699, 700-01 (D.C. Cir. 1990) (en banc)).

See also Steir v. Girl Scouts of the USA, 383 F.3d 7, 15 (1st Cir. 2004) (Stearns, J., by designation) (noting



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the Supreme Court’s “repeated statements that the doctrine of mootness can be described as ‘the

doctrine of standing set in a time frame: The requisite personal interest that must exist at the

commencement of the litigation (standing) must continue throughout its existence (mootness).’”)

(quoting Becker v. Federal Election Commission, 230 F.3d 381, 387 n. 3 (1st Cir. 2000)).

        NAGE alleges in its Amended Complaint that at the time of its original pleading, “the country

faced a substantial risk of a catastrophic default” and “the standing of Plaintiff to bring this action on

behalf of its members must be determined as of that date.” Am. Compl. ¶ 3; see also id. ¶ 7 (alleging

“pending harm to Plaintiff’s members at the time of filing”). But any suggestion of injury from those

factual allegations is moot: the alleged harms to its members in the event of a default in June of 2023

did not come to pass, as Congress suspended the debt limit pursuant to a bipartisan agreement. Even

assuming that Plaintiff’s suggestions of immediate injury at the time of filing were sufficient to confer

standing, no default occurred, and as with every prior debt limit impasse, the political branches reached

an agreement to address the debt limit. 3 Whether or not plaintiff had standing at the time the suit was

filed, the case is now moot.

        Plaintiff argues that a similar debt limit impasse might occur in 2025 if Congress fails to raise

the debt limit. But Plaintiff cannot escape mootness by marrying moot claims of injury with

hypothetical future claims of injury and hoping that the whole is greater than the sum of the

speculative parts. See Am. Compl. ¶ 7 (claiming injury “because of the pending harm to Plaintiff’s

members at the time of filing and because such harm is certain to occur again under existing law as

soon as the Debt Ceiling Statute goes back into effect”). As the First Circuit has observed, “[j]ust as


3
  In its original complaint, Plaintiff conceded that every prior dispute between the political branches
over the debt limit had ended with an agreement to address the debt limit. See ECF No. 1, Orig.
Compl. ¶ 15 (“From time to time since 1917, Congress has routinely raised such indebtedness of the
United States without controversy until such limit was reached in 2011.”); id. ¶ 17 (“the limit was raised
in 2011 in a timely manner and raised subsequently so that the limit on the total indebtedness of the
United States is currently set at $31.4 trillion”).


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standing cannot rest on a conjectural or hypothetical harm, avoiding mootness cannot rest on

speculation about some future potential event,” Harris v. Univ. of Massachusetts Lowell, 43 F.4th 187, 195

(1st Cir. 2022) (cleaned up). Cf. Am. C.L. Union of Massachusetts v. U.S. Conf. of Cath. Bishops, 705 F.3d

44, 52–53 (1st Cir. 2013) (“[i]f events have transpired to render a court opinion merely advisory, Article

III considerations require dismissal of the case.”).

        The fact that Plaintiff’s claims in the original complaint became moot through the passage of

legislation is of no moment. “Through the passage of legislation which governs the lawsuit, Congress

can effectively moot a controversy notwithstanding its pendency before the courts.” Friends of the

Earth, Inc. v. Weinberger, 562 F. Supp. 265, 270 (D.D.C. 1983). This occurs where congressional action

“significantly alters the posture of [a] case.” U.S. Dep't of Treasury, Bureau of Alcohol, Tobacco & Firearms

v. Galioto, 477 U.S. 556, 559 (1986); see also Vermont v. Goldschmidt, 638 F.2d 482, 485 (2d Cir.

1980) (Congressional enactment of statutory formula for disbursement of unobligated funds mooted

state’s pre-existing lawsuit regarding those funds); Cf. New Eng. Reg'l Council of Carpenters v. Kinton, 284

F.3d 9, 18 (1st Cir. 2002) (finding a challenge to a permitting scheme moot because the scheme was

effectively repealed); Town of Portsmouth, R.I. v. Lewis, 813 F.3d 54, 59 (1st Cir. 2016) (“we generally

consider the law as it exists at the time of our review, not as it might speculatively exist in the future.”)

        Nor does it matter that Plaintiff has withdrawn its request for injunctive relief, see ECF No.

39, and instead is seeking only declaratory relief. The text of the Declaratory Judgment Act, 28 U.S.C.

§ 2201, requires an “actual controversy,” and so “a declaratory judgment cannot be given, if a matter

has become moot.” Mary Kay Kane, 10B Fed. Practice & Procedure § 2757 (4th ed. Apr. 2020 update);

see also Green v. Mansour, 474 U.S. 64, 74 (1985) (where any possible violation of federal law ended when

relevant federal statute was amended, that mooted both the injunctive and declaratory relief claims; a

“declaratory judgment that respondent violated federal law in the past” cannot “stand on its own feet

as an appropriate exercise of federal jurisdiction”). Indeed, “[f]or declaratory relief to withstand a



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mootness challenge, the facts alleged must ‘show that there is a substantial controversy . . . of sufficient

immediacy and reality to warrant the issuance of a declaratory judgment.” Am. C.L. Union of

Massachusetts v. U.S. Conf. of Cath. Bishops, 705 F.3d 44, 53–54 (1st Cir. 2013) (quoting Preiser v. Newkirk,

422 U.S. 395, 402 (1975)). No such controversy exists here, and all of Plaintiff’s claims regarding a

potential default by the government in June of 2023 are therefore moot.

        B.       Plaintiff’s Injuries Are Too Speculative to Establish Standing to Challenge the
                 Debt Limit Statute in 2025.

        Plaintiff’s efforts to allege future injury from the Debt Limit Statute—suspended until at least

January of 2025—fare no better, as Plaintiff lacks standing to support such a challenge. To establish

Article III standing, a plaintiff must show “a personal stake in the outcome of the controversy [so] as

to warrant his invocation of federal-court jurisdiction.” Warth v. Seldin, 422 U.S. 490, 498 (1975)

(quotations omitted); see also Hollingsworth v. Perry, 570 U.S. 693, 705 (2013) (“To have standing, a litigant

must seek relief for an injury that affects him in a personal and individual way,” and “must possess a

direct stake in the outcome of the case.” (quotations omitted)). The litigant must demonstrate that it

has suffered an “injury in fact” that is both “concrete and particularized” and “actual or imminent,

not conjectural or hypothetical”; that injury must also be fairly traceable to the challenged conduct

and likely to be redressed by a favorable judicial decision. Lujan v. Defenders of Wildlife, 504 U.S. 555,

560-61 (1992).

        Even prior to the latest debt limit resolution, Plaintiff’s Complaint did not appear to allege any

present injury from the then-ongoing negotiations regarding the debt limit; instead, Plaintiff’s injury

seemed to flow from the future expectation that the debt limit would not be raised or suspended. But

as the Supreme Court has “repeatedly reiterated,” a “‘threatened injury must be certainly impending to

constitute injury in fact,’” and “‘allegations of possible future injury’ are not sufficient.” Clapper v.

Amnesty Int’l USA, 568 U.S. 398, 401 (2013) (quoting Whitmore v. Arkansas, 495 U.S. 149, 158 (1990)).

Subsequent events have confirmed the implausibility of Plaintiff’s feared injury. The political branches


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reached an agreement with respect to the debt limit, as they have every time the issue has arisen in the

Nation’s history.

        Plaintiff’s alleged injury is all the more attenuated now because the debt limit has been

suspended until January of 2025. It is not enough, as Plaintiff speculates, that its purported injury

“will be imminent or actual by the time this litigation takes an ordinary period to resolve,” Am. Compl.

¶ 6 (emphasis added), or that NAGE’s members allegedly “face certain and irreparable harm as of

January 1, 2025.” Id. ¶ 44. Rather, the injury must be real and imminent. See Steir, 383 F.3d at 14–15

(to satisfy the injury-in-fact requirement, “a plaintiff must demonstrate that she ‘has sustained or is

immediately in danger of sustaining some direct injury’ . . . [that] must be both ‘real and immediate,’

not ‘conjectural’ or ‘hypothetical.’”) (quoting City of Los Angeles v. Lyons, 461 U.S. 95, 102 (1983)); Am.

C.L. Union of Massachusetts v. U.S. Conf. of Cath. Bishops, 705 F.3d 44, 53–54 (1st Cir. 2013) (no

jurisdiction where “[t]he controversy here is at this point neither immediate nor real.”). Cf. Ctr. for L.

& Educ. v. Dep’t of Educ., 396 F.3d 1152, 1161 (D.C. Cir. 2005) (“Indeed, were all purely speculative

‘increased risks’ deemed injurious, the entire requirement of ‘actual or imminent injury’ would be

rendered moot, because all hypothesized, non-imminent ‘injuries’ could be dressed up as ‘increased

risk of future injury.’”).

        In prior litigation challenging the Debt Limit Statute, courts have rejected standing theories

on similar grounds. In Williams v. Lew, an individual holder of Treasury securities sued to strike down

the Debt Limit Statute on a theory that if the United States were to ever default on its debt, his holdings

would suffer a diminution in value. See Williams v. Lew, 77 F. Supp. 3d 129 (D.D.C. 2015) (Williams I),

affirmed in Williams v. Lew, 19 F.3d 466 (D.C. Cir. 2016) (Williams II). As the DC Circuit explained on

appeal in that litigation, “any current harm to Williams’s investments is speculative, and he fails to

allege future harms that are certainly impending.” Williams II, 819 F.3d at 474. Furthermore, in

Williams, the Debt Limit Statute had been suspended at the time that the plaintiff filed suit. See Williams



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II, 819 F.3d at 474 (“Because Congress has suspended the Debt Limit Statute, Williams must rely on

rote conjecture that another debt limit impasse will occur once the suspension ends.”). When the

district court rendered its decision on January 6, 2015, the court noted that “[t]he debt limit is currently

suspended, and therefore not in effect, through March 15, 2015.” Williams I, 77 F. Supp. 3d at 131.

The court found this factor relevant in deciding that the Plaintiff’s alleged injury in that case required

that “several speculative contingences must occur before plaintiff is harmed by the debt ceiling

statute.” Id. at 133. See also id. (“First, the debt limit itself must be reached, but as plaintiff

acknowledges, the statute is currently suspended until March 2015.”). Here, any potential injury is

even further down the road than the three months at issue in Williams I, as the debt limit is suspended

until January 2025—seventeen months from now.

        Any possible political dispute over the debt limit in 2025 is, at the present, far too uncertain

to have this Court resolve Plaintiff’s claims regarding the potential delay in paychecks for federal

workers or the temporary suspension of matching contributions to their retirement plans in the event

of a future debt limit impasse. On that basis as well, this lawsuit should be dismissed.

        Plaintiff cannot salvage its claim by purporting to allege harms already experienced from

Secretary Yellen’s declaration of a debt issuance suspension period (part of the extraordinary measures

that were in place from January 19, 2023, until the President signed the debt limit legislation) pursuant

to 5 U.S.C. § 8348. See Am. Compl. ¶ 4 (alleging that at the time of its initial filing NAGE “members

had already suffered concrete, individual monetary injury from the extraordinary measures”). In

relevant part, that statute provides that “the Secretary of the Treasury may suspend additional

investment of amounts in the” Civil Service Retirement and Disability Fund (CSRDF) “if such

additional investment could not be made without causing the public debt of the United States to

exceed the public debt limit.” Id. § 8348(j)(1). But the statute by its own terms requires that the Fund

be made whole. It provides that “[u]pon expiration of the debt issuance suspension period, the



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Secretary of the Treasury shall immediately issue to the Fund obligations” that “bear such interest

rates and maturity dates as are necessary to ensure that, after such obligations are issued, the holdings

of the Fund will replicate to the maximum extent practicable the obligations that would then be held

by the Fund if the suspension of investment . . . had not occurred.” 5 U.S.C. § 8348(j)(3). Plaintiff

similarly relies on the suspension of new investments in the Thrift Savings Plan (TSP) “G Fund.” But

substantially identical statutory provisions require the Secretary to make TSP plan holders whole upon

expiration of the debt issuance suspension period. See 5 U.S.C. § 8438 (g)(1)-(4). Because these

reimbursements payments are guaranteed by statute—and because winning or losing this lawsuit

would not affect Plaintiff or its members—Plaintiff lacks standing to challenge the Debt Limit Statute

on that basis. See Thole v. U. S. Bank N.A, 140 S. Ct. 1615, 1622 (2020) (beneficiaries to ERISA

defined-benefit plan lacked standing to sue over alleged plan mismanagement because “[t]hey have

received all of their vested pension benefits so far, and they are legally entitled to receive the same

monthly payments for the rest of their lives” and “[w]inning or losing this suit would not change the

plaintiffs’ monthly pension benefits.”). 4




4
  In the Amended Complaint, Plaintiff alludes to purported losses in the retirement accounts suffered
by its members during the most recent debt issuance suspension period, while conceding that “the
current amount of Plaintiffs’ uninvested principal and losses in interest has not been reported.”
Compl. ¶ 4. As the First Circuit has made clear, however, the same facial plausibility standards that
govern motions to dismiss under Rule 12(b)(6) apply to unsupported factual allegations in support of
standing. See Hochendoner v. Genzyme Corp., 823 F.3d 724, 731 (1st Cir. 2016) (“In the interest of clarity,
we make explicit today what our cases have implied and what the near-uniform precedent in other
circuits has established: at the pleading stage, the plaintiff bears the burden of establishing sufficient
factual matter to plausibly demonstrate his standing to bring the action. Neither conclusory assertions
nor unfounded speculation can supply the necessary heft.”). Aside from being wholly conclusory and
insufficient for Rule 12 pleading standards, if Plaintiff’s members had not been made whole following
the suspension period, such facts—even if well-pleaded—would not be sufficient to establish future
injury to seek declaratory relief against the Debt Limit Statute because such prospective relief would
do nothing to redress that alleged injury. See Steel Co. v. Citizens for a Better Env’t, 523 U.S. 83, 107 (1998)
(“Relief that does not remedy the injury suffered cannot bootstrap a plaintiff into federal court; that
is the very essence of the redressability requirement.”)


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        For these reasons, Plaintiff lacks standing and this Court lacks Article III jurisdiction. 5

                                            CONCLUSION

        For the reasons discussed above, this Court lacks subject matter jurisdiction over Plaintiff’s

claims and should dismiss accordingly.

     Dated: July 24, 2023                                    Respectfully submitted,

                                                             BRIAN M. BOYNTON
                                                             Principal Deputy Assistant Attorney General

                                                             ALEXANDER K. HAAS
                                                             Branch Director

                                                             BRAD P. ROSENBERG
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5
  This Court would also lack jurisdiction under the Civil Service Reform Act (CSRA) and the Federal
Service Labor-Management Relations Statute (FSLMRS). As a federal union, plaintiff must pursue its
claims through the administrative processes of the FSLMRS with judicial review, if necessary, in a
court of appeals—not in district court. See Am. Fed’n of Gov’t Emps., AFL-CIO v. Trump, 929 F.3d 748,
759 (D.C. Cir. 2019); Am. Fed’n of Gov't Emps. v. Sec’y of Air Force, 716 F.3d 633, 638 (D.C. Cir. 2013).
And even if plaintiff purports to bring claims on behalf of individual members and contends that it
would not be required to pursue them through the framework established under the FSLMRS, those
claims would also not be justiciable under the CSRA, which requires individual employees to exhaust
their administrative remedies before bringing suit in district court. See Irizarry v. United States, 427 F.3d
76, 77 (1st Cir. 2005) (dismissing claims when a plaintiff was “required, but failed, to exhaust [its]
administrative remedies” available under the CSRA). “Federal-sector employment claims typically . . .
run[] through the CSRA, which constitutes ‘a comprehensive system for reviewing personnel action[s]
taken against federal employees,’” including “any actions undertaken in contravention of an
employee’s constitutional rights.” Gonzalez v. Velez, 864 F.3d 45, 51 (1st Cir. 2017) (quoting United
States v. Fausto, 484 U.S. 439, 455 (1988)). The Court, however, need not reach these issues because
this case is moot and Plaintiff lacks standing to seek prospective relief.


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                                    Counsel for Defendants




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                                      CERTIFICATE OF SERVICE

        I hereby certify that a copy of this document was served by electronic filing on July 24, 2023,

on counsel of record for Plaintiff.

                                                                       /s/Alexander N. Ely
                                                                       Alexander N. Ely

                                                                       Counsel for Defendants




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